Case 18-05492-dd   Doc 13   Filed 11/21/18 Entered 11/21/18 17:08:07   Desc Main
                            Document      Page 1 of 9
Case 18-05492-dd   Doc 13   Filed 11/21/18 Entered 11/21/18 17:08:07   Desc Main
                            Document      Page 2 of 9
Case 18-05492-dd   Doc 13   Filed 11/21/18 Entered 11/21/18 17:08:07   Desc Main
                            Document      Page 3 of 9
Case 18-05492-dd   Doc 13   Filed 11/21/18 Entered 11/21/18 17:08:07   Desc Main
                            Document      Page 4 of 9
Case 18-05492-dd   Doc 13   Filed 11/21/18 Entered 11/21/18 17:08:07   Desc Main
                            Document      Page 5 of 9
Case 18-05492-dd   Doc 13   Filed 11/21/18 Entered 11/21/18 17:08:07   Desc Main
                            Document      Page 6 of 9
Case 18-05492-dd   Doc 13   Filed 11/21/18 Entered 11/21/18 17:08:07   Desc Main
                            Document      Page 7 of 9
Case 18-05492-dd   Doc 13   Filed 11/21/18 Entered 11/21/18 17:08:07   Desc Main
                            Document      Page 8 of 9
Case 18-05492-dd   Doc 13   Filed 11/21/18 Entered 11/21/18 17:08:07   Desc Main
                            Document      Page 9 of 9
